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                  EXHIBIT B
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:23-md-03076-KMM

   IN RE:

   FTX CRYPTOCURRENCY EXCHANGE
   COLLAPSE LITIGATION

   _____________________________________/

                                               ORDER

            THIS CAUSE came before the Court upon Plaintiffs’ Motion for Preliminary Approval of

   First Tranche of Settlements, Provisional Certification of Proposed Settlement Class, and Approval

   of the Proposed Schedule, (“Mot.”) (ECF No. 565), and Agreed Supplement to Plaintiffs’ Motion

   for Preliminary Approval of First Tranche of FTX Settlements, (“Supp.”) (ECF No. 618). Therein,

   Plaintiffs notify the Court that they have reached proposed Class Settlements with twelve FTX

   Insiders and Promoter Defendants (collectively, “Settling Defendants”). 1 See Mot. at 1; Supp. at

   1.

            In the Motion for Preliminary Approval, Plaintiffs request that the Court: (1) grant

   preliminary approval of the Settlements; (2) grant certification of the Proposed Settlement Class;

   (3) appoint Class Representatives as Rule 23(c) class representatives; (4) appoint MDL Co-Lead

   Counsel Adam Moskowitz and David Boies as Co-Lead Class Counsel pursuant to Fed R. Civ. P.

   23(c)(1)(B) and 23(g); (5) approve the proposed plan of notice to the Class pursuant to Fed. R.




   1
     Specifically, Plaintiffs have reached settlements with Defendants Samuel Bankman-Fried,
   Caroline Ellison, Gary (Zixiao) Wang, Nishad Singh (collectively, “Insider Settling Defendants”),
   Daniel Friedberg (“Mr. Friedberg”), Kevin Paffrath, Tom Nash, Brian Jung, Andrei Jikh, Jeremy
   Lefebvre, Graham Stephan, and William Trevor Lawrence (collectively, “Promoter Settling
   Defendants”). See Mot. at 1; Supp. at 1.
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   Civ. P. 23(e) and set a schedule for disseminating notice to Class Members, as well as deadlines

   to comment on or object to the Settlements; and (6) schedule a hearing pursuant to Fed. R. Civ. P.

   23(e)(2) to determine whether the proposed Settlements are fair, reasonable, and adequate; and

   should be approved. Mot. at 3.

          On June 4, 2024, FTX Trading Ltd. and its affiliated debtors and debtors-in-possession in

   the Chapter 11 cases being jointly administered under In re FTX Trading Ltd. et al., No. 22-11068

   (Bankr. D. Del.) (“FTX Debtors”) filed a Notice indicating that they have initiated an adversary

   proceeding against the MDL Plaintiffs in the United States Bankruptcy Court for the District of

   Delaware (the “Adversary Proceeding”) to stay and/or enjoin the actions in this MDL against the

   FTX Insiders, Mr. Friedberg, and the VC Defendants2 (together, the “MDL FTX Insider and

   VC Actions”) pursuant to §§ 105(a) and 362(a) of title 11 of the United States Code (the

   “Bankruptcy Code”). See generally (“FTX Debtors’ Notice”) (ECF No. 694). As relevant

   here, the FTX Debtors argue in the Adversary Proceeding that the automatic stay provided in

   the Bankruptcy Code should be extended to the MDL FTX Insider and VC Actions because

   these actions “assert claims that are property of the FTX Debtors’ estate.” Id. at 39–40. The FTX

   Debtors additionally raise several concerns with the proposed Settlements with the FTX

   Insiders and Mr. Friedberg. See, e.g., id. at 57–62.

          A class action may be settled only with the approval of the court. See Fed. R. Civ. P. 23(e).

   Federal Rule of Civil Procedure 23(e)(1)(B) sets forth the grounds for a court’s initial decision to

   send notice of a proposed settlement to the class. See Drazen v. Pinto, No. 21-10199, 2024 WL




   2
    The “VC Defendants” are the Defendants named in the Amended Administrative Class Action
   Complaint against Domestic Venture Capital Funds (ECF No. 157) and the Corrected Amended
   Administrative Class Action Complaint against Multinational VC Defendants (ECF No. 182). See
   FTX Debtors’ Notice at 2.
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   3422404, at *21–22 (11th Cir. July 16, 2024). Specifically, the moving parties must show that the

   court “will likely be able to: (i) approve the [settlement] proposal under Rule 23(e)(2); and (ii)

   certify the class for purposes of judgment on the proposal.” Fed. R. Civ. P. 23(e)(1)(B) (emphasis

   added). Thus, Rule 23(e) “explicitly directs a court at the preliminary approval stage to assess

   whether it is ‘likely’ it will be able to finally approve the settlement after notice, an objection

   period, and a fairness hearing.” 4 Newberg and Rubenstein on Class Actions § 13:10 (6th ed.). In

   considering a motion for preliminary approval of a class action settlement, “[t]he court may direct

   the parties to supply further information about the topics they do address, or to supply information

   on topics they do not address.” Fed. R. Civ. P. 23(e)(2) advisory committee’s note to 2018

   amendment.

          Here, the Court finds that the issues raised in the FTX Debtors’ Notice and the related

   Adversary Proceeding bear on the Court’s ability to determine that it “will likely be able to . . .

   approve the proposal[s]” with respect to the FTX Insider Defendants and Mr. Friedberg as required

   under Rule 23(e)(1)(B). See Drazen, 2024 WL 3422404, at *22 (“The word ‘likely’ when used in

   this context means that the information the parties provide the court creates the probability that,

   by the time the court convenes the Rule 23(e)(2) hearing, it will approve the proposal.”).

          Accordingly, UPON CONSIDERATION of the Motion, the Notice, the pertinent portions

   of the record, and being otherwise fully advised in the premises, it is hereby ORDERED AND

   ADJUDGED that Plaintiffs shall file a response to the FTX Debtors’ Notice (ECF No. 694) on or

   before August 1, 2024. Plaintiffs’ response should specifically address the following issues: (1)

   why this Court should not defer ruling on Plaintiffs’ Motion for Preliminary Approval (ECF No.

   565) until after the issues raised in the Adversary Proceeding have been resolved by the

   Bankruptcy Court; (2) whether this Court should independently examine the issues raised by the



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   FTX Debtors in the Adversary Proceeding; and (3) what impact, if any, the FTX Debtors’ Notice

   and the related Adversary Proceeding have on Plaintiffs’ proposed Settlements with the Promoter

   Settling Defendants. Plaintiffs’ response shall not exceed twenty (20) pages.

          DONE AND ORDERED in Chambers at Miami, Florida, this _____
                                                               18th  day of July, 2024.




                                                    K. MICHAEL MOORE
                                                    UNITED STATES DISTRICT JUDGE


   c: All counsel of record




                                                      4
